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                                   8                                  UNITED STATES DISTRICT COURT
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                                                                     NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
                                  11
                                  12     SCOTT JOHNSON,                                       Case No. 20-CV-06542-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiff,                            JUDGMENT
                                  14             v.

                                  15     UMBARGER LLC,
                                  16                    Defendant.

                                  17
                                  18          On March 25, 2021, the Court dismissed Plaintiff’s Americans with Disabilities Act claim

                                  19   with prejudice, pursuant to the parties’ stipulation. ECF No. 20. The same day, the Court also

                                  20   declined to exercise supplemental jurisdiction over Plaintiff’s Unruh Civil Rights Act claim and

                                  21   dismissed that claim without prejudice, pursuant to the parties’ stipulation. Id. Accordingly,

                                  22   judgment is entered. The Clerk shall close the file.

                                  23
                                  24   IT IS SO ORDERED.

                                  25   Dated: March 25, 2021

                                  26                                                   ______________________________________
                                                                                       LUCY H. KOH
                                  27                                                   United States District Judge
                                  28                                                    1
                                       Case No. 20-CV-06542-LHK
                                       JUDGMENT
